Case 1:25-cv-00660-RJL   Document 10-1   Filed 03/10/25   Page 1 of 10




                Exhibit
                  1
      Case 1:25-cv-00660-RJL         Document 10-1        Filed 03/10/25     Page 2 of 10




From: Trent Morse <Trent.M.Morse@who.eop.gov>
Date: Monday, February 24, 2025 at 1:45 PM
To: "mdavis@whitemountains.com" <mdavis@whitemountains.com>, "mdavis@usadf.gov"
<mdavis@usadf.gov>
Subject: Message from PPO


Morgan,


At the direction of President Donald J. Trump, I am writing to inform you that your position as a
board member of the United States African Development Foundation is terminated, effective
immediately.


Trent Morse
Deputy Director
Office of Presidential Personnel
Case 1:25-cv-00660-RJL   Document 10-1   Filed 03/10/25   Page 3 of 10




                Exhibit
                  2
      Case 1:25-cv-00660-RJL         Document 10-1        Filed 03/10/25     Page 4 of 10




From: Trent Morse <Trent.M.Morse@who.eop.gov>
Date: Monday, February 24, 2025 at 1:45 PM
To: "carolmoseleybraun@gmail.com" <carolmoseleybraun@gmail.com>
Subject: Message from PPO


Carol,


At the direction of President Donald J. Trump, I am writing to inform you that your position as a
board member of the United States African Development Foundation is terminated, effective
immediately.


Trent Morse
Deputy Director
Office of Presidential Personnel
Case 1:25-cv-00660-RJL   Document 10-1   Filed 03/10/25   Page 5 of 10




                Exhibit
                  3
        Case 1:25-cv-00660-RJL       Document 10-1        Filed 03/10/25     Page 6 of 10




From: Trent Morse <Trent.M.Morse@who.eop.gov>
Date: Monday, February 24, 2025 at 1:45 PM
To: "jleslie@usadf.gov" <jleslie@usadf.gov>
Subject: Message from PPO


John,


At the direction of President Donald J. Trump, I am writing to inform you that your position as a
board member of the United States African Development Foundation is terminated, effective
immediately.


Trent Morse
Deputy Director
Office of Presidential Personnel
Case 1:25-cv-00660-RJL   Document 10-1   Filed 03/10/25   Page 7 of 10




                Exhibit
                  4
        Case 1:25-cv-00660-RJL       Document 10-1        Filed 03/10/25     Page 8 of 10




From: Trent Morse <Trent.M.Morse@who.eop.gov>
Date: Monday, February 24, 2025 at 1:45 PM
To: "wardbrehm@icloud.com" <wardbrehm@icloud.com>, "wbrehm@usadf.gov"
<wbrehm@usadf.gov>
Subject: Message from PPO


Ward,


At the direction of President Donald J. Trump, I am writing to inform you that your position as a
board member of the United States African Development Foundation is terminated, effective
immediately.


Trent Morse
Deputy Director
Office of Presidential Personnel
Case 1:25-cv-00660-RJL   Document 10-1   Filed 03/10/25   Page 9 of 10




                Exhibit
                  5
        Case 1:25-cv-00660-RJL      Document 10-1        Filed 03/10/25     Page 10 of 10




From: Trent Morse <Trent.M.Morse@who.eop.gov>
Date: Wednesday, February 26, 2025 at 6:52 PM
To: "john.agwundobi@usadf.org" <john.agwundobi@usadf.org>
Subject: Message from PPO


John,


At the direction of President Donald J. Trump, I am writing to inform you that your position as a
board member of the United States African Development Foundation is terminated, effective
immediately.


Trent Morse
Deputy Director
Office of Presidential Personnel
